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                                           #:1112



 Clinton Brown, Self-Represented
 14 University Drive
 Robina, QLD 4226, Australia
 310-487-6453

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

 CLINTON BROWN,
                                                   Case No. 2:23-cv-02938-MEMF-KS
               Plaintiff,
                                                    Declaration of Erick Ordaz
        vs.
                                                    Judge: Honorable Maame Ewusi-Mensah
 STEVE SMEAD
               Defendant.                           Frimpong

                                                    Magistrate: Karen L. Stevenson

                             DECLARATION OF ERICK ORDAZ

                 I, Erick Ordaz, pursuant to 28 U.S.C. § 1746, declare as follows:

 Background
    1. I have worked with Clinton Brown since 2018 at his real estate company. I submit this

        declaration in the above-captioned matter to provide factual information relevant and in

        support of the allegations in this controversy.

 Relationship with Plaintiff and Defendant
    2. As stated, I have collaborated with Clinton Brown since 2018, during which time I have

        been actively involved in various financial transactions and investments alongside him,

        including the Harper Lake and Utah solar properties. I have personal knowledge and

        records of the transactions between Clinton Brown and the Defendant, Steve Smead.

 Harper Lake
    3. In November 2020, Clinton Brown entered into an agreement with Steve Smead for the

        purchase of a 400-acre property located at 42829 Harper Lake Road, Hinkley, CA 92347,

        with Parcel IDs 0490-091-09 and 0490-091-19. Steve Smead agreed to invest $150,000 in

        the Harper Lake property, only on the condition that his investment would return a sum of
        $300,000, representing a 100% interest on the so-called personal loan. It was explicitly
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                                            #:1113



        understood that this was not a traditional loan, but rather an investment with an expected

        profit based on the success of Clinton Brown’s solar farm[s].

 Utah Property Recording
    4. Due to usury restrictions, escrow could not record the entire $150,000 interest on the

        Harper Lake property. To address this, Steve Smead required that the $150,000 be recorded

        on another property. In June 2021, Clinton Brown refinanced a 160-acre solar property in

        Utah, and $100,000 of the $150,000 from the Harper Lake property transaction was

        recorded on the Utah property. This allocation was necessary because the full amount could

        not be legally recorded on the Utah property either. The remaining $50,000 interest, to my

        knowledge, has not been recorded or put forth in any contract to date.

 Conclusion
    5. To aid in the drafting of this declaration, I reviewed certain emails, texts, and files

        pertaining exclusively to the Harper and Utah properties. I have provided a true and correct

        copy of the escrow statement from November 10, 2020, as an exhibit in support of this

        declaration.




 “I declare (or certify, verify, or state) under penalty of perjury under the laws of the United States
 of America that the foregoing is true and correct.”



 Dated: July 28, 2024                                                          __________________

                                                                                    Erick Ordaz
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                                                 Chicago Title
                                                         #:1114Company
                                       560 E. Hospitality Lane, San Bernardino, CA 92408
                                          Phone: (800)722-0824 | Fax: (909)384-7858

                                               FINAL BUYER'S STATEMENT
      Settlement Date: November 10, 2020                                     Escrow Number: 7102012953
   Disbursement Date: November 11, 2020                                       Escrow Officer: Corbi Smith
                                                                                      Email: Corbi.Smith@ctt.com
                   Buyer: Clinton Brown
                            10226 Regent St
                            Los Angeles, CA 90034
                    Seller: American Pacific Investments, LLC
                            P.O. Box 8181
                            La Verne, CA 91750
                 Property: Vacant Land-42829 Harper Lake Road
                            Hinkley, CA 92347
                            Parcel ID(s): 0490-091-09, 0490-091-19
                  Lender: Steve Smead
                            145 S. 8th Street
                            Santa Paula, CA 93060-0000
                  Lender: American Pacific Investments
                            P.O. Box 8181
                            La Verne, CA 91750
                  Lender: Seller Financing

                                                                                                    $     DEBITS $           CREDITS

FINANCIAL CONSIDERATION
Sale Price of Property                                                                                  498,000.00
Loan Amount                                 Steve Smead                                                                      150,000.00
Purchase Money Note                                                                                                          348,000.00
Proceeds from CDF 2                                                                                                          149,309.52
PRORATIONS/ADJUSTMENTS
County Taxes at $943.24                     11/10/20 to 01/01/21 ($943.24 / 180 X 51 days)                   267.25

NEW LOAN CHARGES - Steve Smead
Total Loan Charges: $690.48
Prepaid Interest                                                                                             690.48
 $32.88 per day from 11/10/20 to 12/01/20
 Steve Smead
TITLE & ESCROW CHARGES
Title - Escrow Fee                          Chicago Title Company                                         1,346.00
Title - Extra Parcel Charge                 Chicago Title Company                                            100.00
Title - Lender's Title Insurance            Chicago Title Company                                             75.00
Title - Lender's Title Insurance            Chicago Title Company                                             75.00
Title - Loan Service Fee (1st)              Chicago Title Company                                            340.00
Title - Loan Service Fee 2nd                Chicago Title Company                                            150.00
Title - Mobile Signing Fee                  U.S. Certified Signers                                           350.00
(BORROWER)
Title - Recording Service fee               SYNRGO                                                            14.45
Policies to be issued:
Loan Policy
 Coverage: $348,000.00        Premium: $75.00
Loan Policy
 Coverage: $150,000.00        Premium: $75.00
GOVERNMENT CHARGES
Recording Fees                                                                                                97.00
Mortgage                           $35.00
Deed                               $27.00
Mortgage                           $35.00

MISCELLANEOUS CHARGES
Transfer to CD 1                            Loan Transfer Proceeds                                      149,309.52
Selling Agent Credit to buyer                                                                                                   3,700.00




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     Case 2:23-cv-02938-MEMF-KS            Document 90-1                  FINAL BUYER'S
                                                                  Filed 03/23/25   PageSTATEMENT - Continued
                                                                                        4 of 4 Page  ID
                                                 #:1115
Subtotals                                                                              650,814.70           651,009.52
Balance Due TO Buyer                                                                        194.82
TOTALS                                                                                 651,009.52           651,009.52



                       THIS IS A CERTIFIED COPY OF THE ORIGINAL DOCUMENT(S) BY
                                         CHICAGO TITLE COMPANY




                       Chicago Title Company, Settlement Agent


                             SAVE THIS STATEMENT FOR INCOME TAX PURPOSES




CERTIFIED COPY                                      Page 2 of 2                 (7102012953/108) November 11, 2020 09:18 AM
